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 1                           UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
 2                                 EASTERN DIVISION
 3
           UNITED STATES OF AMERICA,              Case No. 20CR302
 4
                         Plaintiff,
 5                                                May 28, 2020
                  vs.                             10:10 a.m.
 6
           WILLIAM ELLIS,
 7
                         Defendant.
 8
 9
            TRANSCRIPT OF PRELIMINARY/DETENTION HEARING PROCEEDINGS
10                    BEFORE THE HONORABLE DAVID A. RUIZ
                        UNITED STATES MAGISTRATE JUDGE
11
12
           APPEARANCES:
13
           For the Government:              Kevin Pierce, AUSA
14                                          Office of the U.S. Attorney
                                            Northern District of Ohio
15                                          801 West Superior Avenue
                                            400 U.S. Court House
16                                          Cleveland, Ohio 44113
                                            (216) 622-3600
17
           For the Defendant:               Charles Fleming, AFPD
18                                          Office of the Federal Public
                                                 Defender
19                                          1660 West Second Street
                                            Skylight Office Tower, # 750
20                                          Cleveland, Ohio 44114
                                            (216) 522-4856
21
22         Official Court Reporter:         Susan Trischan,RMR,FCRR,CRR,CRC
                                            7-189 U.S. Court House
23                                          801 West Superior Avenue
                                            Cleveland, Ohio 44113
24                                          (216) 357-7087
25         Proceedings recorded by mechanical stenography.
           Transcript produced by computer-aided transcription.
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            1                       THURSDAY, MAY 28, 2020, 10:10 A.M.
            2                           THE CLERK: This United States District
            3         Court for the Northern District of Ohio is now open for
            4         the transaction of business, the Honorable David A. Ruiz
10:10:40    5         presiding.
            6                           The Court calls Case Number 1:20MJ9138,
            7         United States of America versus William Ellis.
            8                           THE COURT: Good morning.
            9                           Will counsel for the United States please
10:10:53   10         enter your appearance for the record?
           11                           MR. PIERCE: Good morning, Your Honor.
           12         Kevin Pierce on behalf of the United States.
           13                           THE COURT: And will counsel for the
           14         defense please enter an appearance for the record?
10:11:01   15                           MR. FLEMING: Yes, Your Honor. Thank you.
           16         Charles Fleming on behalf of Mr. Ellis.
           17                           THE COURT: And, sir, you are William
           18         Ellis, is that correct?
           19                           THE DEFENDANT: Yes.
10:11:11   20                           THE COURT: Mr. Ellis, you appeared before
           21         me on May 20th of this year for an initial appearance.
           22         At that time the Office of the Federal Public Defender
           23         was appointed to represent you.
           24                           Is it your intention, Mr. Ellis, to
10:11:20   25         continue with your appointed counsel?
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            1                           THE DEFENDANT: Yes.
            2                           THE COURT: Counsel and Mr. Ellis, we are
            3         here today for a preliminary hearing and detention
            4         hearing.
10:11:32    5                           We are conducting this hearing via a
            6         videoconference. Counsel for the United States and
            7         counsel for the defense are appearing via
            8         videoconference.
            9                           It's my understanding that Task Force
10:11:46   10         Officer Kopchak is also appearing via videoconference.
           11                           The defendant Mr. William Ellis is
           12         appearing via videoconference. He's present in the
           13         Northeast Ohio Correctional Center conference room.
           14                           We also have a representative from Pretrial
10:12:05   15         Services participating, and we have a court reporter
           16         making a record of today's proceedings.
           17                           To confirm, AUSA Pierce, can you see and
           18         hear not only me, but the other participants I've
           19         identified?
10:12:20   20                           MR. PIERCE: Yes, Your Honor.
           21                           THE COURT: And, Attorney Fleming, can you
           22         see and hear me and the other participants?
           23                           MR. FLEMING: I can, Your Honor. Thank
           24         you.
10:12:25   25                           THE COURT: And, Mr. Ellis, can you also
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            1         see and hear not only me, but the other participants I've
            2         identified?
            3                           THE DEFENDANT: Yes.
            4                           THE COURT: I'll indicate that under normal
10:12:36    5         circumstances, you all would be present with me here in
            6         United States District Court. We would be conducting
            7         this hearing in open court in my courtroom, but due to
            8         the impact of Covid-19, we are conducting this hearing
            9         via videoconference pursuant to the authority provided by
10:12:53   10         the CARES Act as well as the standing and general orders
           11         issued by the Chief Judge of the Northern District of
           12         Ohio.
           13                           Mr. Ellis, do you consent to proceeding
           14         with this hearing via videoconference?
10:13:11   15                           THE DEFENDANT: Yes.
           16                           THE COURT: And, Attorney Fleming, do you
           17         consent to proceeding via videoconference?
           18                           MR. FLEMING: Yes, Your Honor.
           19                           THE COURT: And, AUSA Pierce, do you
10:13:18   20         consent to proceeding via videoconference?
           21                           MR. PIERCE: Yes, Your Honor.
           22                           THE COURT: And, Attorney Fleming, have you
           23         had an opportunity to speak with Mr. Ellis since the
           24         initial appearance in preparation of today's hearing?
10:13:32   25                           MR. FLEMING: Yes, I have, Your Honor. And
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            1         I should note for the record that I am actually at this
            2         point standing in for Darin Thompson. Mr. Thompson has
            3         ultimately been given this case, but he was unable
            4         to -- he had a conflict for purposes of today's hearing,
10:13:48    5         and I am doing the hearing for him.
            6                           THE COURT: Thank you for that
            7         clarification, counsel.
            8                           But is the defense prepared to proceed at
            9         this time with the hearing?
10:13:59   10                           MR. FLEMING: Yes, Your Honor.
           11                           THE COURT: Mr. Ellis, before we proceed
           12         any further, I'm going to ask you an initial question.
           13                           Are you presently under the influence of
           14         any medication, drugs, alcohol, any substance that at
10:14:12   15         present would interfere or affect your ability to think
           16         or understand?
           17                           THE DEFENDANT: No.
           18                           THE COURT: Attorney Fleming, do you have
           19         any reason to question either your client's ability to
10:14:21   20         understand what's going on here today or his competency
           21         to proceed in this matter?
           22                           MR. FLEMING: No, I do not, Your Honor.
           23                           THE COURT: Mr. Ellis, I will remind you
           24         that you have the right to remain silent.
10:14:29   25                           You are not required to make any statement
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            1         or to testify, and anything you say may be used against
            2         you. If you start to make a statement, you may stop at
            3         any time.
            4                           And you may also consult with your attorney
10:14:38    5         at any time.
            6                           Do you understand your right to remain
            7         silent?
            8                           THE DEFENDANT: Yes.
            9                           THE COURT: Counsel and Mr. Ellis, I'll
10:14:49   10         also advise that during today's proceedings, I'll do my
           11         best to call on each one of you by name, but if I have
           12         not done so, I ask that you just identify yourself by
           13         name so that way the court reporter can make an accurate
           14         transcript of today's hearing.
10:15:07   15                           Also, because we're appearing via
           16         videoconference for this hearing, sometimes there is some
           17         noise or feedback from open mics, so I ask that you all
           18         mute your mics when you're not speaking. And at times I
           19         may have to mute your mic as well if there is any noise
10:15:30   20         reverberation or issue with the feedback and the sound.
           21                           But if you're on mute, you should be able
           22         to unmute yourself and speak.
           23                           If there's any issue, just raise your hand
           24         and I will be able to see you and make sure that you have
10:15:43   25         full and ample opportunity to make any statement that
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            1         you'd like.
            2                           In addition, Mr. Fleming and Mr. Ellis, I
            3         wanted to advise you that if at any point in time you'd
            4         like to have a private attorney/client conference, just
10:15:57    5         make that request.
            6                           With the technology we have, we can place
            7         the two of you into a separate breakout room where you
            8         can have a private conference. The rest of us would stay
            9         in this main videoconference and take a recess on the
10:16:09   10         record while you have an opportunity to have your private
           11         attorney/client conference.
           12                           MR. FLEMING: Thank you, Your Honor.
           13                           THE COURT: Counsel and Mr. Ellis, as I
           14         indicated, we're here today for a preliminary hearing and
10:16:21   15         a detention hearing.
           16                           We'll first address the matter of probable
           17         cause and address the matter of detention, if necessary,
           18         after first addressing the matter of probable cause.
           19                           With respect to the hearing itself, I do
10:16:38   20         have a copy of the Pretrial Services report, so if you
           21         have any changes, corrections or modifications you'd like
           22         the Court to consider with respect to the Pretrial
           23         Services report, please let me know.
           24                           Also, I have been provided with copies of
10:16:59   25         the Government's and defendant's exhibits in advance of
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            1         this hearing. I have electronic versions of those, but
            2         to the extent that you intend to use any of those
            3         exhibits, if you would just identify them during the
            4         hearing so that way I can make sure I have the correct
10:17:16    5         document in front of me.
            6                           And it's also my understanding that those
            7         exhibits have been exchanged between counsel, but if
            8         there's any issue there, AUSA Pierce or Attorney Fleming,
            9         let me know and we can address that before we proceed any
10:17:30   10         further.
           11                           Okay?
           12                           MR. FLEMING: Yes. Thank you, Your Honor.
           13                           THE COURT: All right. And then with
           14         respect to the hearing itself, counsel, if you would like
10:17:43   15         to -- or AUSA Pierce, do you intend to call any
           16         witnesses, or proceed by way of proffer?
           17                           MR. PIERCE: Your Honor, I intend to call
           18         Task Force Officer Kopchak.
           19                           THE COURT: Okay. And, Attorney Fleming,
10:17:55   20         do you intend to call any witnesses, or proceed by way of
           21         proffer?
           22                           MR. FLEMING: Your Honor, we would be
           23         proceeding by way of proffer and argument.
           24                           THE COURT: All right. At this time, since
10:18:03   25         we are doing the combined preliminary hearing and
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            1         detention hearing, counsel, you can include in the direct
            2         and cross-examination of Officer Kopchak issues that
            3         would address both preliminary hearing, probable cause,
            4         and detention hearing issues so that way we don't need to
10:18:26    5         split the testimony.
            6                           But you can do it for the issues that you
            7         would address during direct examination, AUSA Pierce, you
            8         can address those issues, and same to you, Attorney
            9         Fleming.
10:18:41   10                           MR. FLEMING: Thank you, Your Honor.
           11                           THE COURT: As well, Attorney Fleming, any
           12         proffer that you reserve can address both the preliminary
           13         hearing issues and detention hearing issues at the time,
           14         and then I'll make an initial determination with respect
10:18:56   15         to whether, in fact, there's probable cause to support
           16         the charges alleged against Mr. Ellis.
           17                           And then, if necessary, I'll hear any
           18         additional argument that you have with respect to the
           19         matter of pretrial detention.
10:19:07   20                           MR. FLEMING: Okay.
           21                           THE COURT: AUSA Pierce, unless there's any
           22         further initial issues to address, you may call your
           23         first witness.
           24                           MR. PIERCE: Thank you, Your Honor.
10:19:20   25                           The United States calls Task Force Officer
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                                             Kopchak - Direct                            10

            1     Don Kopchak.
            2                       THE COURT: Mr. Kopchak, please raise your
            3     right hand.
            4                       Ms. Gallagher, would you please swear in
10:19:30    5     Mr. Kopchak?
            6                                DONALD KOPCHAK,
            7          of lawful age, a witness called by the Government,
            8                   being first duly sworn, was examined
            9                         and testified as follows:
10:19:41   10                       THE COURT: Officer Kopchak, your line was
           11     on mute for a moment. Can you answer again?
           12                       THE WITNESS: I do.
           13                       THE COURT: You understand, Officer
           14     Kopchak, that you're now under oath and your testimony is
10:19:53   15     subject to the pains and penalties of perjury?
           16                       THE WITNESS: I do.
           17                       THE COURT: AUSA Pierce, you may begin.
           18                       MR. PIERCE: Thank you, Your Honor.
           19             DIRECT EXAMINATION OF DONALD KOPCHAK
10:19:59   20     BY MR. PIERCE:
           21     Q.      Can you state your name and spell your last for the
           22     record?
           23     A.      Detective Donald Kopchak, K-O-P-C-H-A-K.
           24     Q.      What's your current occupation?
10:20:10   25     A.      I am assigned to the City of Cleveland Division of
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            1     Police as a detective for the last 13 years.
            2                       I'm also assigned to the ATF as a task
            3     force officer for -- it will be two years next week.
            4     Q.      As a task force officer with the ATF, what are your
10:20:26    5     current duties?
            6     A.      With the -- as a task force officer with the ATF,
            7     my duties are to investigate federal crimes including
            8     drug trafficking, felons in possession of firearms,
            9     pretty much anything that we can go forward federally
10:20:47   10     with.
           11     Q.      Okay. Do you have any training in the field of
           12     narcotics?
           13     A.      Yes.
           14     Q.      Like what?
10:20:52   15     A.      Well, I graduated from the Cleveland Police
           16     Academy. Shortly after that, I attended several drug
           17     trafficking classes, basic narcotics school through HIDTA
           18     in Brooklyn. I also went to an advanced narcotics school
           19     in Dallas, Texas for a week.
10:21:13   20                       I have attended undercover schools. I have
           21     participated in numerous undercover operations and
           22     handled confidential informants, things like that.
           23     Q.      What about firearms, do you have any training in
           24     the field of firearms?
10:21:32   25     A.      Yes. ATF sends me to -- or sent me to Washington,
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            1     D.C. for seven days for an ATF course which includes
            2     firearms, the basics of firearms, how much they're worth,
            3     trafficking in firearms, characteristic of an armed gun
            4     man, things of that nature.
10:21:54    5     Q.      Okay. Besides your 13 years with the Cleveland
            6     Division of Police, do you have any other law enforcement
            7     experience?
            8     A.      No.
            9     Q.      Okay. During your time as a detective with
10:22:04   10     Cleveland or as an ATF Task Force Officer, have you ever
           11     testified as an expert?
           12     A.      No.
           13     Q.      Okay. I want to turn your attention now to May
           14     18th of 2020.
10:22:15   15                       Do you remember that?
           16     A.      Yes.
           17     Q.      Was the search warrant executed at 638 East 127th
           18     Street?
           19     A.      Yes, it was.
10:22:24   20     Q.      Is that the City of Cleveland, Ohio?
           21     A.      It is.
           22     Q.      Is that in the Northern District of Ohio?
           23     A.      It is.
           24     Q.      All right. Can you tell me what happened on May
10:22:34   25     18th, 2020?
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                                             Kopchak - Direct                            13

            1     A.      We executed a Cuyahoga County search warrant with
            2     the Cleveland SWAT unit.
            3                       I was notified two days prior from
            4     Detective Yasenchack from the Cleveland Police
10:22:50    5     Department --
            6     Q.      I'm going to stop you there.
            7                       Could you spell that last name for us for
            8     the record?
            9     A.      Sure. It's Y-A-S-E-N-C-H-A-C-K, and his badge is
10:23:03   10     2362.
           11     Q.      Okay. So continue.
           12     A.      He notified me that there was going to be a search
           13     warrant and asked me to assist.
           14     Q.      Okay. So on the morning of May 18th, was the
10:23:17   15     search warrant actually executed?
           16     A.      It was.
           17     Q.      Was anyone home?
           18     A.      Yes. There was two occupants in the home.
           19                       There was Mr. William Ellis and a female.
10:23:29   20     Q.      When you say "Mr. William Ellis," do you mean the
           21     fellow here on the Zoom call with us?
           22     A.      Yes.
           23                       MR. PIERCE: Your Honor, identification for
           24     the record?
10:23:39   25                       THE COURT: The record would so note that
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                                             Kopchak - Direct                            14

            1     the witness has identified Mr. William Ellis appearing
            2     through Northeast Ohio Correctional Center
            3     videoconference.
            4     BY MR. PIERCE:
10:23:49    5     Q.      All right. So you know, police enter, they find
            6     Mr. Ellis and a female, as you mentioned.
            7                       Where was Mr. Ellis when you arrived at the
            8     home?
            9                       When I say "you," I mean officers in
10:24:01   10     general.
           11     A.      He was running upstairs in the hallway when SWAT
           12     made contact with him.
           13     Q.      Where was he running towards?
           14     A.      The bathroom.
10:24:11   15     Q.      Was there anything going on in the bathroom?
           16     A.      Numerous times SWAT had to get his attention to
           17     almost gain control of him verbally.
           18                       Once they did that, they were able to
           19     detain him, and they detained a female who was in the
10:24:30   20     bedroom.
           21                       And SWAT noticed that there were several
           22     empty bags near the toilet as well as pills on the
           23     bathroom floor and in a living room area -- or hall area.
           24     Q.      Okay. Was he eventually detained then?
10:24:44   25     A.      He was.
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                                             Kopchak - Direct                            15

            1     Q.      Okay. After his detention, was he provided his
            2     Miranda warnings?
            3     A.      He was.
            4     Q.      Did he, during the time of the search warrant, did
10:24:53    5     he mention what was going on in the bathroom?
            6     A.      Yes, I actually advised him of his Miranda rights.
            7     I actually explained to him who I was, that I was with
            8     the ATF as a task force officer.
            9                       I asked him about if he was flushing
10:25:06   10     anything down the toilet, and at that time he explained
           11     that he was just getting rid of some Percocets.
           12     Q.      Okay. Now, I want to turn your attention to the
           13     search of the house.
           14                       Let's start in the upstairs bedroom.
10:25:19   15                       Was that searched?
           16     A.      Yes, there was actually -- well, there was two
           17     bedrooms, but one, one -- the third one was actually a
           18     marijuana grow house.
           19     Q.      Okay. Let's talk about that.
10:25:33   20                       What do you mean by "a marijuana grow
           21     house"?
           22     A.      Inside the -- which would be a normal bedroom, was
           23     approximately 15 plants. They had grow lights,
           24     fertilizers, grow containers, heat lamps, humidity
10:25:50   25     thing -- humidity control, everything you need to
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            1     successfully grow marijuana.
            2     Q.      Okay. Anything else in that room?
            3     A.      No.
            4     Q.      You mentioned there were other bedrooms.
10:26:02    5                       Was there anything else found in the
            6     bedrooms upstairs?
            7     A.      Yes, the next bedroom was what we considered
            8     Mr. Ellis's bedroom.
            9                       We --
10:26:10   10     Q.      Before you get too far ahead, why, why did you
           11     consider it his bedroom?
           12     A.      His wallet was in there with his driver's license.
           13     Clothing was in there. He's a large gentleman. The
           14     clothing matched his posture. All men's clothes in
10:26:30   15     there.
           16                       The other bedroom had all female clothes.
           17                       Basically with the driver's license and
           18     everything else, as well as the other female in the
           19     residence stated that that was his bedroom.
10:26:45   20     Q.      Okay. Was anything found in that room?
           21     A.      Yes.
           22     Q.      What?
           23     A.      Inside that bedroom in the closet was a jacket.
           24     Inside the jacket was a large bag of suspected Fentanyl.
10:27:04   25                       Also, we located Mr. Ellis's wallet with
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            1     his driver's license, some paperwork with his name on it,
            2     and next to that wallet with his driver's license was a
            3     loaded Smith & Wesson revolver.
            4     Q.      When you say "Next to the wallet," what do you
10:27:24    5     mean?
            6     A.      So right -- if you're looking at the bed, to the
            7     left of the bed was, like, a little makeshift nightstand
            8     which is what the wallet was on with some paperwork.
            9                       And then the firearm was in between the
10:27:39   10     nightstand and the bed, as if you were laying there you
           11     could just reach and grab the revolver.
           12     Q.      So if you were laying in bed, about how far away
           13     from the bed? Was it within arm's reach?
           14     A.      Yes, it was.
           15     Q.      Would he have to get --
           16     A.      Yes, it was actually almost touching the bed.
           17     Q.      Anything else found in that room; any ammunition or
           18     anything like that?
           19     A.      No. The -- there was ammunition located throughout
10:28:03   20     the home, but I don't believe there was any additional
           21     ammunition in that bedroom.
           22     Q.      Was the gun loaded?
           23     A.      Yes, it was.
           24     Q.      Let's turn to the living room.
10:28:14   25                       Was anything found in the living room?
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            1     A.      Yes, in the living room where Mr. Ellis was
            2     actually sitting, where I advised him of his Miranda
            3     rights, I located a magazine with 17 rounds in it.
            4                       That's -- shortly after I located that,
10:28:28    5     that was within the first couple minutes of being in the
            6     home, I asked Mr. Ellis if there was a firearm upstairs
            7     or in his bedroom, and he stated he couldn't remember.
            8                       I asked him why he would have another
            9     magazine just sitting out, and he did not answer that
10:28:46   10     question.
           11                       However, through -- through the search of
           12     the living room, officers located numerous boxes of
           13     different ammunition in the living room. They located a
           14     box of .556 ammunition, a box of .762 ammunition, a box
10:29:07   15     of .9 millimeter ammunition as well. And then an
           16     additional bag of .556 rounds also located in the living
           17     room.
           18     Q.      What about drug paraphernalia, was there any drug
           19     paraphernalia found?
10:29:26   20     A.      Once you made your way into the kitchen, which was
           21     located in the rear of the home, it was set up as to
           22     manufacture drugs or to step on drugs.
           23                       And by that I mean that there was digital
           24     scales with heavy residue throughout the kitchen. There
10:29:42   25     was blender with residue. There was -- next to the
            Case:
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            1     blender there was a box of Benefiber which is being used
            2     to color the Fentanyl.
            3                       The Fentanyl now is coming white or
            4     Carfentanil is coming in white. The users do not want it
10:30:01    5     white because they don't want the Carfentanil to Fentanyl
            6     so it's a common practice to either cut the Fentanyl or
            7     Carfentanil with some sort of colored powder, Rizzy or
            8     now they are using Benefiber. That was next to the
            9     kitchen by the scales and the plastic bags and the
10:30:17   10     blenders.
           11                       Also there was a press. It was a little
           12     press, approximately, I don't know, eight inches long
           13     that would be used to press heroin.
           14                       The reason you do that is to -- once you
10:30:31   15     blend up the cut and everything else, you're able to
           16     repress it so it appears that it's -- has not been
           17     stepped on.
           18     Q.      Why would somebody not want stepped-on heroin?
           19     A.      Because you're losing the potency of what you're
10:30:47   20     purchasing, so if you're getting almost pure Fentanyl or
           21     Carfentanil, every time you step on it you're losing that
           22     little bit, or if you're buying heroin it would be the
           23     same thing.
           24     Q.      All these items you mentioned, you mentioned there
10:31:02   25     was what appeared to be Fentanyl upstairs, this drug
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            1     paraphernalia with the residue, et cetera, were all these
            2     items sent to the laboratory?
            3     A.      They were.
            4     Q.      Are the results back yet?
10:31:12    5     A.      They are not. I just checked this morning right
            6     before the conference, but they are not back yet.
            7                       The only results that we have back are from
            8     our prior investigation of Mr. Ellis of the drugs we
            9     recovered.
10:31:23   10     Q.      What -- what do you mean by that?
           11     A.      On May 11th of 2020, Detective Yasenchack conducted
           12     surveillance on Mr. Ellis's home and was able to notice a
           13     large volume of traffic coming and going from the home.
           14                       The last vehicle that came into the
10:31:51   15     residence, Mr. Ellis was observed letting them in the
           16     home. They then left Mr. Ellis's home. They were then
           17     stopped, and they were able -- they were in possession of
           18     suspected Fentanyl.
           19                       Those occupants were interviewed and they
10:32:11   20     were able to describe Mr. Ellis. They know him as Blaze.
           21     They supplied a phone number that they contacted him on.
           22     And they were shown a video -- not video -- a BMV photo
           23     of Mr. Ellis, and they were able to positively identify
           24     him as Mr. Ellis.
10:32:31   25                       Those drugs that were confiscated were sent
            Case:
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            1     to the lab, and it should be noted that those drugs were
            2     also -- the suspected heroin was a yellowish color
            3     similar to the same exact color that was located in
            4     Mr. Ellis's coat.
10:32:49    5                       Those labs came back, and it was a mixture
            6     of heroin, Carfentanil, Fentanyl, cocaine, Tramadol,
            7     4-ANPP which is a Schedule II, and Gabapentin which is a
            8     nonschedule which would be cut.
            9     Q.      Okay. So the May 11th Fentanyl was very similar in
10:33:17   10     color and look as to what was recovered on the 18th; fair
           11     to say?
           12     A.      It was, yes.
           13     Q.      Okay. Does Mr. Ellis have any prior convictions?
           14     A.      He does.
10:33:26   15     Q.      Like what?
           16     A.      Mr. Ellis has a prior conviction for gross sexual
           17     imposition, kidnapping, felonious assault, and drug
           18     trafficking.
           19     Q.      Did that make him prohibited from possessing or
10:33:41   20     owning a firearm?
           21     A.      It does.
           22     Q.      You mentioned gross sexual imposition.
           23                       Does that mean he's a registered sex
           24     offender?
10:33:50   25     A.      It is.
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            1     Q.      During -- as a registered sex offender, does he
            2     have to provide an address?
            3     A.      He does.
            4     Q.      Do you know what that address is?
10:33:58    5     A.      He supplied 638 East 127th.
            6     Q.      Okay. You mentioned, I think -- and if you didn't,
            7     I apologize -- you mentioned a vehicle that was
            8     registered or a vehicle of Mr. Ellis's.
            9                       Do you know of his vehicle?
10:34:14   10     A.      Yeah, the original complaint that we received
           11     that -- not me -- that Detective Yasenchack received in
           12     April stated that the person that's selling the drugs
           13     drives Ford Explorer with Ohio plate of HYH 8894.
           14                       When Detective Yasenchack ran that plate,
10:34:37   15     it did come back to William Ellis.
           16                       And on May 12th, I assisted Detective
           17     Yasenchack and I did see that vehicle there. However,
           18     during the search warrant, that vehicle was not present.
           19     Q.      Do you know where that vehicle is registered to,
10:34:57   20     what address?
           21     A.      I don't believe I have that information in front of
           22     me.
           23     Q.      That's fine.
           24                       Detective, I want to -- I have five
10:35:15   25     exhibits that I want to sort of go through, Exhibits A
            Case:
             Case:1:22-cv-00815-SO
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            1     through E.
            2                       I provided them to you earlier and you sent
            3     them to me. I know this is a little awkward, but Exhibit
            4     A, that's Detective Yasenchack's report.
10:35:27    5                       Do you remember seeing that?
            6     A.      Yes.
            7     Q.      Have you reviewed it?
            8     A.      I have.
            9     Q.      Is it a fair and accurate copy of his report?
10:35:36   10     A.      It is.
           11     Q.      Okay. In that report, does he mention when his
           12     search warrant was submitted to the Cuyahoga County
           13     Prosecutor's Office?
           14     A.      Yes.
10:35:51   15     Q.      When?
           16     A.      He submitted it to -- he drafted the warrant and
           17     submitted it on May 12th to the prosecutor for review.
           18     Q.      Okay. I want to turn your attention to Exhibit B.
           19                       You provided me and I provided counsel with
10:36:16   20     four photographs.
           21                       MR. PIERCE: Your Honor, with permission,
           22     could I share my screen? It may make this process a
           23     little easier if I could show the photo.
           24                       THE COURT: Yes, you may.
10:36:27   25
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            1     BY MR. PIERCE:
            2     Q.      Detective, I'm going to draw your attention to the
            3     screen.
            4                       Is that Exhibit B? Detective, do you see
10:36:40    5     that?
            6     A.      Yes, I do.
            7     Q.      What do you see here?
            8     A.      Those, that is the -- I refer to as a bedroom, but
            9     it's the grow house. Those are pictures of the plants,
10:36:51   10     the fertilizer.
           11                       To the left you see the humidifier or the
           12     humidifier controller.
           13                       And then right above there was all the heat
           14     lamps.
10:37:04   15     Q.      Is this photo a fair and accurate copy of the
           16     bedroom of Mr. Ellis's house on May 18th, 2020?
           17     A.      Yes.
           18     Q.      Did you see my screen change then, Detective?
           19     A.      It did not.
10:37:23   20     Q.      Okay. One second.
           21                       Detective, did my screen just change to
           22     Exhibit C?
           23     A.      Yes.
           24     Q.      Could you describe what you see here in Exhibit C?
10:37:41   25     A.      That is the bag of suspected Fentanyl that was
            Case:
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            1     located in the coat.
            2                       It's removed from the coat to take a photo
            3     to depict what it looks like.
            4     Q.      Okay. Is it a fair and accurate copy of what was
10:37:57    5     seized from the coat on May 18th, 2020?
            6     A.      Yes.
            7     Q.      Turning your attention back to the screen here to
            8     Exhibit D, what do you see here?
            9     A.      That is Captain Kane -- that's spelled K-A-N-E.
10:38:21   10     She is holding the coat which the Fentanyl, suspected
           11     Fentanyl, bag of Fentanyl was located in.
           12     Q.      You mentioned earlier that Mr. Ellis is a big
           13     individual.
           14                       What stands out about the size in this
10:38:34   15     photograph?
           16     A.      Captain Kane is very tall as well, above six foot,
           17     and she's holding the coat up. As you compare, it's a
           18     very large coat that would -- that would match
           19     Mr. Ellis's description or posture, I guess.
10:38:50   20     Q.      About how tall is Mr. Ellis?
           21     A.      He's tall. He's six-five.
           22     Q.      Okay.
           23     A.      Six-four, six-five.
           24     Q.      All right. Turning your attention to the screen
10:39:05   25     again, Exhibit E.
            Case:
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            1                       Do you see this?
            2     A.      Yes.
            3     Q.      What do you see here?
            4     A.      That is the revolver that I stated earlier that was
10:39:15    5     next to the bed.
            6                       The bed is actually moved to get a better
            7     photo of the gun.
            8     Q.      So there's a brown object on the left.
            9                       What is that?
10:39:25   10     A.      That's the nightstand that I spoke of that -- I
           11     don't think it's an actual nightstand. It was more like
           12     a make-shift nightstand.
           13     Q.      There appears to be either a covering or a plastic
           14     sheet on the right.
10:39:40   15                       What is that? Is that the bed?
           16     A.      Yes.
           17     Q.      So does it -- how did it get in that position?
           18     A.      The bed?
           19     Q.      Yes.
10:39:48   20     A.      It was moved when -- throughout the search.
           21                       I wasn't present for the search of that
           22     bedroom, just Captain Kane was and Detective Yasenchack,
           23     but the bed was moved to check under the bed, and that's
           24     when the bed was moved and the firearm was located.
10:40:05   25     Q.      So the firearm was found in that spot when the bed
            Case:
             Case:1:22-cv-00815-SO
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            1     was moved, is that fair to say?
            2     A.      Correct, to get a better photo of it.
            3     Q.      All right. So is this photo a fair and accurate
            4     depiction of where the gun was found on May 18th of 2020?
10:40:20    5     A.      It is, yes.
            6                       MR. PIERCE: All right. Your Honor, I move
            7     for the admissions of Exhibits A through E.
            8                       THE COURT: Attorney Fleming, any
            9     objections?
10:40:30   10                       One moment. Attorney Fleming, I believe
           11     your mic is on mute.
           12                       Any objections, Attorney Fleming?
           13                       MR. FLEMING: No objection, Your Honor.
           14                       I apologize.
10:40:40   15                       THE COURT: All right. Government's
           16     Exhibits A through E are admitted without objection.
           17                       AUSA Pierce, you may continue.
           18                       MR. PIERCE: Your Honor, that's all I have.
           19                       THE COURT: Attorney Fleming, any
10:40:57   20     cross-examination?
           21                       MR. FLEMING: Yes, Your Honor, if I may.
           22             CROSS-EXAMINATION OF DONALD KOPCHAK
           23     BY MR. FLEMING:
           24     Q.      Detective Kopchak, you did the affidavit in this
10:41:06   25     case, is that correct?
            Case:
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            1     A.      Yes, sir, I did.
            2     Q.      Okay. And some of the stuff you talk about in the
            3     affidavit relates to surveillance that was conducted by
            4     Officer Kop -- I mean, I'm sorry, Officer Yasenchack on
10:41:20    5     May 11th, is that correct?
            6     A.      Yes, sir.
            7     Q.      Okay. Now, were you present for that surveillance?
            8     A.      No, sir.
            9     Q.      Okay. So all of the information you got with
10:41:30   10     regard to that surveillance came from Officer Yasenchack?
           11     A.      Correct.
           12     Q.      Okay. Was he assisted by other officers?
           13     A.      I do not know.
           14     Q.      Okay. Part of the information he had leading him
10:41:44   15     to the surveillance of that house came from a
           16     confidential informant.
           17                       Do you recall that?
           18     A.      I do.
           19     Q.      Okay. Was that a paid informant, or was that
10:41:52   20     someone who was looking to reduce a sentence?
           21     A.      I don't recall.
           22     Q.      Okay.
           23     A.      I can't remember if the CI has a case, or if his
           24     case is already completed.
10:42:13   25                       I can't remember.
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            1     Q.      Okay. Did that person ever do any sort of
            2     controlled buy that was allegedly from Mr. Ellis?
            3     A.      I'm sorry, something happened with the audio. I
            4     couldn't hear.
10:42:27    5                       THE COURT: Could you repeat the question,
            6     Mr. Fleming? There was some static in your question.
            7     BY MR. FLEMING:
            8     Q.      Sorry. I asked whether that person was -- ever did
            9     a controlled buy, is alleged to have ever done a
10:42:38   10     controlled buy from Mr. Ellis.
           11     A.      Not to my knowledge, no.
           12     Q.      Okay. So the person directed Officer Yasenchack to
           13     Mr. Ellis, but to your knowledge never did any sort of
           14     transaction for Officer Yasenchack with Mr. Ellis?
10:42:52   15     A.      Correct.
           16                       You're referring to the original CI --
           17     Q.      Yes.
           18     A.      -- who supplied information?
           19     Q.      Yes, that led to the surveillance on May 11th.
10:43:01   20     A.      Correct.
           21     Q.      Okay. Now, you know that Officer Yasenchack was
           22     involved in a previous case with Mr. Ellis, correct?
           23     A.      Just recently, yes.
           24     Q.      Okay. And you actually mentioned it in your
10:43:14   25     affidavit, that that case is pending on appeal, correct?
            Case:
             Case:1:22-cv-00815-SO
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                                              Kopchak - Cross                            30

            1     A.      Correct.
            2     Q.      Okay. Now, are you -- are you aware that there was
            3     a suppression hearing in that case?
            4     A.      I have no knowledge of the case.
10:43:28    5                       AUSA Pierce updated me this morning, but
            6     before this morning I had no prior knowledge, no.
            7     Q.      Okay. So all you knew at the time you did this
            8     affidavit was that it was your understanding that that
            9     case was pending?
10:43:43   10     A.      Yes, sir.
           11     Q.      Okay. Where did you get that information from?
           12     A.      I believe Detective Yasenchack as well as Cuyahoga
           13     County Clerk of Courts.
           14     Q.      Okay. And that, up until today, that was the only
10:44:03   15     information you knew about that case?
           16     A.      Correct.
           17     Q.      Okay. When you -- what -- well, let me back up.
           18                       When you learned information today, did you
           19     learn that that appeal has actually been dismissed?
10:44:15   20     A.      I did.
           21     Q.      Okay. And did you learn what the basis of that
           22     appeal was?
           23     A.      No. I don't know anything about the case. I
           24     wasn't present.
10:44:25   25     Q.      And did you learn that that appeal was actually
            Case:
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            1     dismissed on April 22nd of this year?
            2     A.      I wasn't told the exact date, but I was told it was
            3     dismissed.
            4     Q.      Okay. Let's talk about the surveillance that
10:44:39    5     Officer Yasenchack did on the 11th.
            6                       Did he take photographs of what he
            7     surveilled?
            8     A.      I do not know.
            9     Q.      Do you know if he took video of what he surveilled?
10:44:52   10     A.      I don't believe so.
           11                       We -- that's not a -- that wouldn't be
           12     something that would be a common practice for the Fifth
           13     District vice. We don't have the capability to video
           14     anything. We don't have that type of equipment.
10:45:09   15     Q.      Did other officers assist with regard to that
           16     surveillance?
           17     A.      I don't know. I wasn't present.
           18     Q.      Okay. He didn't give you that information?
           19     A.      No. I didn't -- I didn't ask.
10:45:21   20     Q.      Okay. But you indicated at some point in your
           21     affidavit you said that originally two white males
           22     entered and at some point they left, correct?
           23     A.      I'm pulling up that paragraph right now.
           24     Q.      Okay. Take your time.
10:45:53   25                       Specifically I refer your attention to
            Case:
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            1     Paragraph 13 of the affidavit.
            2     A.      Yep. I just got there.
            3                       Go ahead, what was the question?
            4     Q.      I said eventually two white males entered the
10:46:03    5     residence and then at some point they left, correct?
            6     A.      Correct.
            7     Q.      Okay. And they were not stopped by the Cleveland
            8     Police Department at all, to your knowledge?
            9     A.      Not to my knowledge, no.
10:46:11   10     Q.      Okay. So we have no idea what -- what their
           11     business was at that residence that day?
           12     A.      No. I don't -- no.
           13     Q.      Okay. And again, after them, after they entered, a
           14     female entered and at some point left, correct?
10:46:31   15     A.      Yes.
           16     Q.      Okay. And she was not stopped by the Cleveland
           17     Police Department for anything that day?
           18     A.      Not to my knowledge.
           19     Q.      So we have -- we do not know as we sit here what
10:46:42   20     her business was in that residence that day, correct?
           21     A.      Correct.
           22     Q.      All right. And while we're on that topic, how many
           23     people were living at the residence?
           24     A.      What residence?
10:46:53   25     Q.      The residence that was being surveilled, the
            Case:
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                   1:20-cr-00302-BYPDoc
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            1     residence that allegedly Mr. Ellis was staying at.
            2     A.      Mr. Ellis.
            3     Q.      He's the only person that was living there?
            4     A.      To my knowledge.
10:47:06    5     Q.      Okay. You said that when officers made entry, his
            6     girlfriend was there.
            7                       Do you recall stating that?
            8     A.      I stated a female, yes.
            9     Q.      Okay. Do you know if she was living there?
10:47:17   10     A.      During the interview of her, she stated that she
           11     was not living there. That she was keeping some stuff
           12     there until she could go somewhere else.
           13     Q.      Okay. So she was -- if she's keeping stuff there,
           14     then she stays there on and off apparently, correct?
10:47:37   15     A.      I didn't ask that.
           16     Q.      She -- okay. Well, she told you she's keeping some
           17     stuff there?
           18     A.      Yeah. She had minor stuff there. She said that
           19     she was -- I didn't ask the exact date or time she got
10:47:52   20     there, but yes, she had some clothes there.
           21     Q.      Okay. Then let's go back to the people who are
           22     going in and out of the residence on the 11th.
           23     A.      Okay.
           24     Q.      Finally, two people entered and came out.
10:48:04   25                       Those were the last two people that went in
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            1     that day.
            2                       Do you recall that?
            3     A.      Yes.
            4     Q.      Okay. Were they two males, two females, male and
10:48:11    5     female? What was that situation?
            6     A.      Well, we don't supply that information and we keep
            7     that vague to protect them.
            8     Q.      Okay. Because they cooperated?
            9     A.      Correct.
10:48:25   10     Q.      Okay. Ultimately drugs were found on them, right?
           11     A.      Correct.
           12     Q.      Okay. Were they charged with a crime?
           13     A.      I don't know if they were or not. If they -- I can
           14     tell you what past practice is, but I can't tell you what
10:48:41   15     Detective Yasenchack did.
           16     Q.      You don't know what happened with those two people?
           17     A.      No. I wouldn't ask either. That's not my -- what
           18     he does with his cases are his prerogative.
           19     Q.      At some point you know that Detective Yasenchack
10:48:57   20     went and got a search warrant, correct?
           21     A.      Yes.
           22     Q.      Okay. Have you reviewed that warrant?
           23     A.      Yes.
           24     Q.      Okay. Do you have that there with you?
10:49:05   25     A.      I don't believe so. I did give it to AUSA Pierce,
            Case:
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            1     though.
            2     Q.      Okay.
            3     A.      I can check if you -- if you want to wait. I
            4     don't -- I had to work from home today, I apologize. Our
10:49:21    5     office is being disinfected.
            6                       MR. PIERCE: If I can jump in real quick,
            7     Charles, I can e-mail it to you real quick, if you don't
            8     mind.
            9                       MR. FLEMING: That's fine. That's fine.
10:49:30   10     Take your time.
           11                       THE DEFENDANT: Could I say something to my
           12     attorney real quick in private?
           13                       THE COURT: One -- one moment, Mr. Ellis.
           14                       Attorney Fleming, while AUSA Pierce e-mails
10:49:41   15     the document to Officer Kopchak, we'll take a brief
           16     recess right now if you'd like, Attorney Fleming, or if
           17     you'd like to proceed with your questioning, we can take
           18     a recess after.
           19                       MR. FLEMING: I can take -- Judge, I can
10:49:58   20     take a couple minutes and talk to him right now, if the
           21     Court is amenable to that.
           22                       THE COURT: Okay. Let's go ahead and take
           23     a brief recess right now.
           24                       Ms. Gallagher, if you could please place
10:50:08   25     Attorney Fleming and Mr. Ellis into a separate breakout
            Case:
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            1     room right now, we will take a brief recess.
            2                       THE CLERK: Yes.
            3                       (Recess taken).
            4                       THE COURT: All right. Counsel and
10:52:46    5     Mr. Ellis, we're back on the record.
            6                       Attorney Fleming, have you had sufficient
            7     time to speak with Mr. Ellis?
            8                       MR. FLEMING: Yes, I did, Your Honor.
            9                       THE COURT: All right. Are you ready to
10:52:53   10     proceed then?
           11                       MR. FLEMING: We are, Your Honor.
           12                       THE COURT: Okay.
           13                       MR. FLEMING: Thank you.
           14     BY MR. FLEMING:
10:52:59   15     Q.      Officer Kopchak, do you have that warrant with you
           16     now?
           17     A.      I do. Go ahead.
           18                       MR. FLEMING: Okay. And, Judge, for the
           19     record, I'm referring to Defendant's Exhibit D as in
10:53:07   20     David.
           21                       THE COURT: All right. Give me one moment
           22     to pull that up, counsel.
           23                       MR. FLEMING: Thank you.
           24                       THE COURT: Okay. Attorney Fleming, I have
10:53:42   25     it.
            Case:
             Case:1:22-cv-00815-SO
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            1                       MR. FLEMING: Okay. Thank you.
            2     BY MR. FLEMING:
            3     Q.      Officer Kopchak, referring your attention
            4     to -- well, first off, this is the search warrant that
10:53:48    5     was executed on May 18th, correct?
            6     A.      Yes, sir.
            7     Q.      Okay. And, sir, looking at the second page of the
            8     warrant itself, it shows the Judge having signed it, et
            9     cetera, correct?
10:54:03   10     A.      Yes, sir.
           11     Q.      Okay. And the date of that signing appears to be
           12     May 14th of 2020, correct?
           13     A.      Yes, sir.
           14     Q.      Okay. Now, just above that, do you see that last
10:54:14   15     paragraph of the warrant where it starts with
           16     "Therefore"?
           17     A.      Yes.
           18     Q.      Okay. And do you see that it says, "You are hereby
           19     commanded in the name of the State of Ohio with the
10:54:29   20     necessary and proper assistance to serve this warrant in
           21     the day or night season and search forthwith within three
           22     days of the date hereof"?
           23                       Do you see that?
           24     A.      I do.
10:54:41   25     Q.      Now, by my calculations, three days would take you
            Case:
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            1     to May 17th, correct?
            2     A.      For -- there's case law on this, and the
            3     weekends --
            4     Q.      I just asked you -- I'm just asking you --
10:54:54    5     A.      No.
            6     Q.      -- three days doesn't take you to May 17th?
            7     A.      Not for us, no.
            8     Q.      Okay. How far does three days take you?
            9     A.      The case law explains that when you're off or
10:55:04   10     unable to execute that warrant on your days off, that on
           11     the weekends, if you're not employed, do not count.
           12                       So the warrant was signed on the 14th.
           13     Saturday and Sunday would not count to execute the
           14     warrant. So then we executed it Monday morning.
10:55:20   15     Q.      Okay. But in this, all this warrant says is "Three
           16     days from the date hereof," correct?
           17                       It doesn't say "Three business days"?
           18     A.      It's -- the language in there is within three days,
           19     and there's numerous case laws that I don't have with me,
10:55:35   20     but I have discussed this before and shown, also.
           21     Q.      Okay. Now, you indicated that, among other things,
           22     a gun was found in this residence, correct?
           23     A.      I did.
           24     Q.      All right. Now, has that gun -- has a trace been
10:55:58   25     done on that gun?
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                                              Kopchak - Cross                            39

            1     A.      It has.
            2     Q.      Okay. And did it trace back to someone?
            3     A.      It's not completed yet.
            4     Q.      Oh, okay. So the trace has not been done?
10:56:09    5     A.      I sent -- it has. I sent it in the same day.
            6     Q.      Okay. So you've asked for it. It has not been
            7     completed?
            8     A.      Yes, sir.
            9     Q.      Okay. And has fingerprint or DNA testing been done
10:56:21   10     on this gun?
           11     A.      Yes, sir.
           12     Q.      Okay. And has that been completed?
           13     A.      I swabbed it, yes, for DNA.
           14     Q.      Okay. And were fingerprints found?
10:56:31   15     A.      You don't do both.
           16     Q.      Okay. But -- okay. You -- so you say you swabbed
           17     it for DNA?
           18     A.      Yes, sir.
           19     Q.      Okay. And did you locate DNA on the gun?
10:56:43   20     A.      Well, I would need a comparison. I would type a
           21     search warrant for Mr. Ellis's DNA, and then we would
           22     collect that DNA.
           23     Q.      Okay.
           24     A.      And then we would take that DNA with the gun swab,
10:56:56   25     and then it would go to BCI in Richfield, and then it
            Case:
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            1     takes approximately three weeks or so and they would give
            2     me the results.
            3     Q.      So based on what you've just told us then that
            4     process has not been done and completed yet?
10:57:13    5     A.      No, the standard has not been collected.
            6     Q.      Okay. And are your answers the same with regard to
            7     the ammunition, no fingerprint testing or DNA testing as
            8     yet?
            9     A.      We wouldn't swab the DNA or fingerprint or DNA. A,
10:57:31   10     the DNA -- or the ammo was in boxes.
           11     Q.      Okay.
           12     A.      It was in a closet. And our policy at ATF is we
           13     don't swab boxes of ammunition.
           14     Q.      Okay. And what about the drug press?
10:57:44   15     A.      No. We wouldn't --
           16     Q.      The drug press that was found?
           17     A.      Cuyahoga County Examiner's Office, when items are
           18     located inside someone's home, there has to be some sort
           19     of exigent circumstances to -- for them to test that DNA
10:57:59   20     such as a homicide or a drug overdose, because their
           21     explanation is that if it's their home, their DNA is
           22     going to be in the home and the item then would be --
           23     whatever scientific word they use -- it would be diluted
           24     or there would be DNA already on it.
10:58:19   25                       So they don't -- where we get our DNA done
            Case:
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            1     for drugs, they wouldn't do that.
            2     Q.      Okay. But you did indicate swabbing some items for
            3     DNA, right?
            4     A.      Yeah, a firearm is different. We are able to -- we
10:58:33    5     have an agreement with BCI to do the standards for felons
            6     in possession through ATF.
            7     Q.      All right. Do you know who the owner of the house
            8     is?
            9     A.      I -- not offhand, I do not.
10:58:49   10     Q.      Okay. Is that information -- do you have that
           11     information somewhere?
           12                       I'm not asking you to get it, but do you
           13     have that information somewhere?
           14     A.      I believe we, when we do our -- when Detective
10:59:02   15     Yasenchack does his pre-entry forms for swab, it requires
           16     the Cuyahoga County Auditor's page, so he would have that
           17     then.
           18     Q.      Okay. And you don't know that information as you
           19     sit here today?
10:59:11   20     A.      Not offhand, I do not.
           21     Q.      Do you know -- so if you don't know that
           22     information, I imagine you don't know what contact they
           23     have with the house?
           24     A.      Who?
10:59:21   25     Q.      The owner of the house.
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            1     A.      I don't understand your question.
            2     Q.      You said -- you said that you don't know who the
            3     owner of the house is, correct?
            4     A.      Correct.
10:59:34    5     Q.      Okay. And assuming, first of all, assuming that
            6     it's someone other than Mr. Ellis, you don't know what
            7     contact they have with the house, correct?
            8     A.      Correct.
            9     Q.      All right. Now, you said that the female that was
10:59:50   10     there said to you or another officer that that's his
           11     bedroom, is that correct?
           12     A.      Yes.
           13     Q.      Okay. Did that tend to indicate to you that other
           14     bedrooms in the house belonged to other individuals?
11:00:05   15     A.      No, not necessarily.
           16     Q.      Okay. Could mean that, though, correct?
           17     A.      No, not necessarily.
           18     Q.      Okay. You said there was a bag of suspected
           19     Fentanyl.
11:00:18   20                       Do you recall that?
           21     A.      Yes.
           22     Q.      Okay. Has that been tested?
           23     A.      It was sent to the lab. I should either get
           24     results today or tomorrow.
11:00:26   25     Q.      Okay. So the tests --
            Case:
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                                              Kopchak - Cross                            43

            1     A.      The holiday -- no, the holiday set everything back
            2     one day.
            3     Q.      Okay. Now, do you have any information to indicate
            4     that Mr. Ellis is not a lifelong resident of the City of
11:00:43    5     Cleveland?
            6     A.      That he's not a lifelong resident?
            7     Q.      That's correct.
            8     A.      He lived in --
            9     Q.      Do you have any --
11:00:54   10     A.      I know his driver's license has him living in
           11     Richmond Heights; not in Cleveland.
           12     Q.      Okay. So let me rephrase the question.
           13                       Do you have any information to indicate
           14     that he's not a lifelong resident of the Northern
11:01:05   15     District of Ohio?
           16     A.      Oh, no, not to my knowledge.
           17                       I don't have his full report here, but
           18     nothing that stuck out to me, no.
           19     Q.      Okay. And you don't have any information to
11:01:14   20     contradict the fact that he was born and raised here in
           21     Cleveland or in the Northern District of Ohio?
           22     A.      I'll agree with you, if that's what you're saying.
           23     Q.      Well, I'm just asking if you have any information
           24     that contradicts that.
11:01:27   25     A.      Oh, no, I don't.
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                                              Kopchak - Cross                            44

            1     Q.      Okay. And you, do you have any information that
            2     contradicts that he has strong ties in terms of family to
            3     the Northern District of Ohio?
            4     A.      He spoke of his mom. That's about it.
11:01:45    5     Q.      You don't have any information to contradict that?
            6     A.      No.
            7     Q.      Okay.
            8                       MR. FLEMING: Your Honor, I have no further
            9     questions.
11:01:56   10                       THE COURT: AUSA Pierce, any redirect?
           11                       MR. PIERCE: No, Your Honor.
           12                       THE COURT: All right. Officer Kopchak,
           13     you're now off the witness stand.
           14                       (Witness excused).
11:02:18   15                       THE COURT: AUSA Pierce, any additional
           16     witnesses?
           17                       MR. PIERCE: No.
           18                       THE COURT: Any additional proffer for the
           19     Court to consider before I turn to --
11:02:31   20                       MR. PIERCE: I would just proffer the
           21     Pretrial report, Your Honor, which I know you stated you
           22     already have.
           23                       THE COURT: I do have it. One moment.
           24                       AUSA Pierce, before I turn to Attorney
11:03:26   25     Fleming, I'll note in the criminal complaint the
            Case:
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            1     defendant was accused of violating 18, U.S.C., Section
            2     922(g), possession of a firearm by a convicted felon.
            3                      MR. PIERCE: Correct.
            4                      THE COURT: Do you have any additional
11:03:42    5     information to proffer with respect to the firearm and/or
            6     the ammunition that was referenced during the examination
            7     of the witness?
            8                      MR. PIERCE: That being the interstate
            9     commerce, is that your question, Judge?
11:03:59   10                      THE COURT: My question was do you have any
           11     additional information to proffer with respect to the
           12     firearm and/or the ammunition?
           13                      MR. PIERCE: No.
           14                      THE COURT: Any information that would
11:04:09   15     indicate that it was -- has transferred or would in any
           16     way affect interstate commerce?
           17                      MR. PIERCE: Not -- if I could recall
           18     Detective Kopchak, he mentioned the make and model of it.
           19                      I could simply ask him a question about
11:04:26   20     Smith & Wessons, if permitted to reopen the questioning.
           21                      THE COURT: Any objection, Attorney
           22     Fleming?
           23                      MR. FLEMING: No objection, Your Honor.
           24                      THE COURT: Mr. Kopchak, you are back on
11:04:37   25     the witness stand.
            Case:
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            1                      Do you understand that your testimony is
            2     still subject to the pains and penalties of perjury if
            3     you do not tell the truth?
            4                      THE WITNESS: I do.
11:04:47    5                      THE COURT: AUSA Pierce, you may proceed.
            6             REDIRECT EXAMINATION OF DONALD KOPCHAK
            7     BY MR. PIERCE:
            8     Q.      Detective Kopchak, you heard some questioning and
            9     some testimony about the Smith & Wesson.
11:04:56   10                      To your knowledge, does the
           11     Smith & Wesson -- do you know where it's manufactured?
           12     A.      The Smith & Wesson is not manufactured in the State
           13     of Ohio, and I confirmed that with Special Agent Briggs
           14     from the ATF who is our nexus expert. He examined the
11:05:12   15     firearm.
           16     Q.      So as it compares to interstate commerce, since
           17     it's not manufactured in Ohio, what does that mean?
           18     A.      That it crossed state lines in order to make it to
           19     Ohio.
11:05:24   20                      And as far as ammunition goes, there is no
           21     ammunition made in Ohio.
           22     Q.      In general, meaning there is no ammunition
           23     manufactured here in the State of Ohio at all?
           24     A.      Correct.
11:05:36   25     Q.      So all the ammunition that was found, you mentioned
            Case:
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            1     .556, I think, .9 millimeter and --
            2     A.      .762 rounds.
            3     Q.     There you go.
            4                      None of those were manufactured in the
11:05:52    5     State of Ohio?
            6     A.     Correct.
            7                      MR. PIERCE: Your Honor, that's all I have.
            8                      THE COURT: Attorney Fleming, any
            9     cross-examination based upon that limited redirect?
11:06:01   10                      MR. FLEMING: No cross, Your Honor.
           11                      THE COURT: All right. Mr. Kopchak, you
           12     are now free to step down from the witness stand.
           13                      (Witness excused).
           14                      THE COURT: Anything further for the Court
11:06:10   15     to consider, AUSA Pierce?
           16                      MR. PIERCE: No.
           17                      THE COURT: Okay. Attorney Fleming,
           18     any -- you indicated you don't intend to call any
           19     witnesses on direct examination, but any proffer that you
11:06:21   20     would have for the Court to consider?
           21                      MR. FLEMING: Yes, Your Honor.
           22                      First of all, I would proffer my four
           23     exhibits, Exhibits A through D.
           24                      Exhibit A is a State suppression hearing
11:06:31   25     transcript. I didn't -- the transcript is relatively
            Case:
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            1     ancillary to this matter, so I didn't submit the
            2     transcript of both hearings.
            3                      One hearing was the hearing where they
            4     actually took testimony. The other hearing, it was just
11:06:44    5     the Judge's finding on the suppression hearing.
            6                      And I thought that was significant because
            7     some of the information in this affidavit was provided by
            8     Officer Kopchak through -- I mean by Officer Yasenchack
            9     through Officer Kopchak.
11:06:59   10                      And in that case, the Judge specifically
           11     suppressed evidence with regard to a prior case involving
           12     Officer Kopchak and Mr. Ellis. That was the 2019 case
           13     that Mr. -- Officer Kopchak referred to, and the Court
           14     specifically found that Officer Yasenchack was not
11:07:18   15     credible.
           16                      The Court suppressed all of the evidence.
           17     That is the matter that went up to the Court of Appeals.
           18                      The next exhibit is Exhibit B, which is the
           19     Court of Appeals' dismissal of that matter, and
11:07:32   20     apparently it was dismissed because the Government didn't
           21     timely file their appeal.
           22                      And then, finally, Exhibit C is the State's
           23     ultimate dismissal of that matter on the Government's
           24     motion.
11:07:46   25                      Exhibit D, and I guess this is something
            Case:
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            1     Mr. Thompson will have to look into, Exhibit D is a
            2     search warrant in this case, and specifically the issue
            3     with regard to the search warrant is, in fact, the fact
            4     that it says it's to be executed within three days. It
11:08:00    5     doesn't say three business days. Doesn't give any sort
            6     of qualification as to when it's to be executed. And
            7     it's actually executed four days after it's issued.
            8                      Now, again, whether or not that becomes a
            9     suppression issue, I guess time will tell. I know this
11:08:16   10     is not a suppression hearing, and I understand that. But
           11     I thought that that's something that the Court should at
           12     least consider.
           13                      We would also proffer --
           14                      THE COURT: Attorney Fleming, before you
11:08:26   15     move on.
           16                      MR. FLEMING: Sure.
           17                      THE COURT: You -- you referenced the
           18     particular section of the search warrant in the direct
           19     examination -- sorry -- the cross-examination of Officer
11:08:37   20     Kopchak, but for the record can you identify the
           21     particular paragraph --
           22                      MR. FLEMING: Sure.
           23                      THE COURT: -- and page number you were
           24     referring to?
11:08:43   25                      MR. FLEMING: Yes, Your Honor. It's Page 2
            Case:
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            1     of the actual warrant, and that -- again that's Exhibit
            2     D, and on that page it says -- it has the Judge signing
            3     it, which is the date is May 14th, and it indicates
            4     without qualification that it should be served or
11:09:12    5     executed within three days thereof.
            6                      And it does not say "three business days."
            7     It does not say "excluding days off" or what have you
            8     because I don't even know what that would mean because
            9     there are officers that can execute it, so I just simply
11:09:30   10     thought that that, that the Court should take that into
           11     consideration.
           12                      Now, Mr. Thompson at some point can look at
           13     the case law and see whether or not that gives rise to a
           14     motion to suppress, but -- and I know this is not a
11:09:40   15     suppression hearing, Your Honor, but it says what it
           16     says.
           17                      And so I just thought that should be
           18     brought to the Court's attention.
           19                      With regard to the rest of my proffer, Your
11:09:51   20     Honor, first of all, I would proffer that Mr. Ellis is a
           21     lifelong resident of northern Ohio except for when he
           22     went to college at the University of Louisville. After
           23     that, he went to the University of Akron, but other than
           24     that, he has lived in the Northern District of Ohio all
11:10:08   25     of his life.
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            1                      So having been born in 1978, that would put
            2     us about 42 years.
            3                      I would also proffer that he suffers from
            4     significant health issues. He has a bullet at the base
11:10:21    5     of his spine. He has sciatic nerve problems, I think
            6     indicative of sciatica, which as the Court, I'm sure,
            7     knows, deals with nerve problems emitting from the hip to
            8     the legs, and also the ulnar nerve, which emits, I
            9     believe, from the shoulder down through the arms to the
11:10:44   10     fingertips.
           11                      He indicated to the Pretrial Services
           12     officer that he had those ailments, and the different
           13     therapies and pain medications that he has been
           14     prescribed for purposes of those ailments.
11:10:57   15                      So we would proffer that information.
           16                      We would also proffer that if he is
           17     released, he is still -- he is not the owner of that
           18     residence, but he can still reside at that residence.
           19                      And to the extent that that might give the
11:11:13   20     Court pause, and this is more argument, but the
           21     rigorousness of Pretrial Service supervision can take
           22     care of any concerns with him living at that residence.
           23                      And that's what we have by way of proffer.
           24     Anything else would be by way of argument, Your Honor.
11:11:36   25                      And, Your Honor, I would just say one
            Case:
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            1     correction with regard to the Pretrial Services report.
            2                      THE COURT: Yes, go ahead, counsel.
            3                      MR. FLEMING: Thank you, Your Honor.
            4                      THE COURT: Actually, before I -- before I
11:11:50    5     do that --
            6                      MR. FLEMING: Sure.
            7                      THE COURT: -- I'm going to turn to the
            8     Pretrial Services representative to find out if there are
            9     any changes, corrections or modifications to the Pretrial
11:11:57   10     Services report that has been provided to the Court and
           11     to counsel.
           12                      THE PROBATION OFFICER: No, Judge, not at
           13     this time.
           14                      THE COURT: All right. Thank you.
11:12:04   15                      Attorney Fleming, go ahead.
           16                      MR. FLEMING: Just one correction with
           17     regard to the Pretrial Services report.
           18                      On Page 4, it talks about Mr. Ellis's
           19     substance abuse, and it makes the statement at the end of
11:12:22   20     that, before the -- before the part entitled substance
           21     abuse history, it says, "He did not provide further
           22     information regarding his substance abuse at the advice
           23     of counsel," and I just want to clarify that.
           24                      What I did not allow and advised him not to
11:12:41   25     answer was a question that asked whether he was getting
            Case:
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            1     drugs illegally.
            2                      That I said I would not allow him to
            3     answer. I did not say that he would not answer questions
            4     about simple use of drugs.
11:12:56    5                      So I just wanted to clarify that. And to
            6     the extent that the Pretrial Services officer -- Pretrial
            7     Services officer misunderstood what I was saying, I
            8     apologize if she did. But it was not that he could not
            9     talk about substance abuse.
11:13:09   10                      THE COURT: All right. Thank you for that
           11     clarification, counsel.
           12                      MR. FLEMING: Thank you.
           13                      THE COURT: AUSA Pierce, before I receive
           14     argument with respect to the matter of probable cause or,
11:13:40   15     Attorney Fleming, before I receive argument with respect
           16     to the matter of probable cause, would either one of you
           17     like to take a recess, or are you prepared to proceed?
           18                      MR. FLEMING: Your Honor, on behalf of
           19     Mr. Ellis, I'm prepared to proceed. No problem.
11:13:53   20                      THE COURT: Okay. Then go ahead, AUSA
           21     Pierce.
           22                      MR. PIERCE: Your Honor, I think probable
           23     cause in this case is pretty straightforward.
           24                      You know, a search warrant was executed at
11:14:03   25     638 127th Street. Mr. Ellis was found in the home. He's
            Case:
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            1     flushing items, namely Percocets and some drugs that are
            2     in the house.
            3                      More importantly, in his bedroom, which I
            4     think we've established through Officer Kopchak's
11:14:18    5     testimony that it was his bedroom, his wallet is found,
            6     the clothes are found. He's an extremely tall
            7     individual, six-four, six-five. The clothes are there.
            8                      We saw the photograph of an extremely large
            9     coat which had what appeared to be Fentanyl inside of it,
11:14:34   10     but more importantly the only charge we're here dealing
           11     with right now is the felon in possession. It was found
           12     within arm's reach, as Detective Kopchak stated. The
           13     photograph shows that. It's right next to a bed. Right
           14     next to the nightstand. And, of course, he's a felon who
11:14:48   15     is not supposed to be possessing said items.
           16                      That said, all of that, that it being in
           17     his room, we've established, and that it's a firearm
           18     within arm's reach of where he would be sleeping, he is
           19     in possession of it. And as a felon, he's not allowed to
11:15:04   20     do that in violation of federal law.
           21                      So straightforward, that's probable cause.
           22     That's the only charge we're dealing with. Of course, as
           23     Your Honor pointed out, interstate commerce, we've
           24     established that as well.
11:15:16   25                      You know, these other arguments I think
            Case:
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            1     Mr. Fleming has brought up and sort of articulated, I get
            2     it. However, those are suppression issues, and they are
            3     not relevant for purposes here today.
            4                      The other thing I would point out in that
11:15:28    5     Exhibit C, I -- Mr. Fleming states in Exhibit B that the
            6     appeal was dismissed on April 22nd, 2020.
            7                      Well, that date's important and I get that.
            8     However, the case was not dismissed until May 13th, 2020.
            9                      That's important because that case, the
11:15:45   10     Government, while I can't say what Cuyahoga County did,
           11     however, they failed to do whatever they failed to do and
           12     the Court dismissed their appeal. That case was still
           13     technically open. They still had the ability to appeal
           14     that decision, and the case wasn't ultimately dismissed
11:16:00   15     until May 13th.
           16                      The May 13th date is important because, as
           17     Detective Kopchak pointed out, the probable cause was
           18     submitted to the office on May 12th which is, of course,
           19     before May 13th, but also the PC that was generated, the
11:16:17   20     surveillance, et cetera, the confidential informant, the
           21     first one, provided information in April of 2020.
           22     Secondly, there was surveillance on May 11th of 2020
           23     which, of course, again is before May 13th.
           24                      So that case is still pending. So it's
11:16:30   25     still out there. It still could have been appealed and
            Case:
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            1     it still was a possibility for Mr. Ellis. That said,
            2     that probable cause was still generated while Mr. Ellis
            3     was still -- has a case pending.
            4                      Now, ultimately, the warrant is signed and
11:16:46    5     sealed on May 14th afterwards, but it was submitted on
            6     May 12th, so everything was established before that.
            7                      So ultimately, this whether or not the case
            8     was appealed or dismissed, et cetera, it's all a red
            9     herring, ultimately, as the PC was generated while
11:17:01   10     Mr. Ellis still had an active case and nothing inherently
           11     wrong about this.
           12                      More importantly, the suppression hearing,
           13     the three-day thing, we will deal with later. There is
           14     Ohio case law on it and it's not important for today's
11:17:15   15     purposes.
           16                      As to detention, I would argue he should be
           17     detained, Your Honor.
           18                      Most importantly, if you go through his
           19     criminal history, you'll see that, one, in the present
11:17:24   20     case we are dealing with, he's being charged as a felon
           21     in possession of a firearm and there's narcotics found in
           22     the house, or what we expect to be narcotics found in the
           23     house. That said, that in itself is inherently
           24     dangerous.
11:17:37   25                      More importantly, if you go through his
            Case:
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            1     criminal history, there's a long series of capiases,
            2     there's a long series of violations, and he has a violent
            3     criminal history.
            4                      If you go through it, there's a kidnapping,
11:17:47    5     gross sexual imposition, drug trafficking, a felonious
            6     assault. His criminal history dates all the way back to
            7     1996 when he was 18 and continues all the way up
            8     basically until today, Your Honor.
            9                      There was a -- a good break in there a
11:18:04   10     little bit in 2007, but most -- to 2015, but most of that
           11     time was spent incarcerated.
           12                      And here we are back today as a felon in
           13     possession.
           14                      All told, Your Honor, if you go through all
11:18:16   15     the factors and you read his history of substance abuse,
           16     his lack of a job, the pending charges, his criminal
           17     history, all told, Your Honor, I don't think he's a good
           18     fit for, you know, going home, despite the fact that he
           19     has been a lifelong resident of the area.
11:18:34   20                      I don't think he is a risk of flight.
           21     However, I do think there is a danger. He's a felon in
           22     possession of a firearm, possession of narcotics. All
           23     told with his criminal history, Your Honor, I don't think
           24     he's a good fit.
11:18:53   25                      THE COURT: Attorney Fleming.
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            1                      MR. FLEMING: Your Honor, as to the issue
            2     of probable cause as it pertains to the gun and
            3     ammunition, we leave that to the Court's determination as
            4     to whether the Government has satisfied the Court that
11:19:02    5     there is probable cause as to that.
            6                      With regard to detention, Your Honor, we do
            7     believe that there are conditions or combinations of
            8     conditions that could ensure that he's not a risk of
            9     flight and that he's not a danger to the community, and a
11:19:19   10     few things I take issue with what the Government said.
           11                      First, that he has this long history of
           12     capiases throughout his criminal history. Now, I
           13     will -- I will acknowledge that his criminal history is
           14     not flattering. And never is it flattering to even have
11:19:36   15     criminal history, so we will concede that.
           16                      But he had a 2015 case. No indication that
           17     he ever had a problem coming to Court in that case. He
           18     had a 2007 to 2008 case. No indication that he ever had
           19     a problem in that case.
11:19:58   20                      In 2008, he had -- he was indicted,
           21     apparently according to that case, Judge, he was arrested
           22     in 2006 but wasn't indicted until 2008, and you'll note
           23     that the capias occurred not long after he was indicted.
           24                      That indicates to me that there was a
11:20:21   25     failure of service. It's not like he had appeared in
            Case:
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            1     court and, you know, was given dates like pretrial,
            2     trial, and then didn't show up. So I think the Court
            3     should take that into consideration.
            4                      This just does not comport with the
11:20:38    5     Government's statement that he's got this long line of
            6     capiases, long line of violations.
            7                      When you look at his -- he had another 2006
            8     case and that was the rape, gross sexual imposition. He
            9     was not -- that case was ultimately dismissed.
11:20:52   10                      But in that case there was an allegation of
           11     a violation, but whatever those allegations were, the
           12     Court did not deem it sufficient to revoke his bond. So
           13     that tends to indicate at least, Judge -- and we can't
           14     second guess what the Judge was doing or why they were
11:21:11   15     doing it -- but it was not serious enough in the Judge's
           16     opinion to warrant revocation of the bond.
           17                      He has a 2006 case, and I don't know if
           18     those cases were related because they both have arrest
           19     dates of 2006, so that should be noted. In July 11th of
11:21:34   20     2006, I should say.
           21                      But in that case, Your Honor, the one
           22     problem that it indicated that he had was that the case
           23     proceeds to trial. It says, "The Court orders
           24     defendant's bond revoked and he is remanded due to the
11:21:48   25     failure to appear for trial," but what actually happened,
            Case:
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            1     Your Honor, according to the defendant -- and I proffer
            2     this -- is that he got there late and the Judge was
            3     upset. He was several minutes late, the Judge was ready
            4     to go, and the Judge revoked his bond.
11:22:03    5                      THE COURT: And, Attorney Fleming, which
            6     case are you referring to?
            7                      MR. FLEMING: It's the first case with an
            8     arrest date of 7/11/2006.
            9                      There are two cases that indicate an arrest
11:22:14   10     date of 7/11/2006.
           11                      THE COURT: All right. And that's Page 8
           12     of the Pretrial Services report?
           13                      MR. FLEMING: That's absolutely correct,
           14     Your Honor.
11:22:21   15                      THE COURT: Okay.
           16                      MR. FLEMING: You see where it says, "Jury
           17     impaneled and sworn"?
           18                      THE COURT: Yes.
           19                      MR. FLEMING: And then it starts to talk
11:22:26   20     about bond revocation.
           21                      And I'm simply pointing out, Your Honor,
           22     that the defendant indicates that he was late, which, to
           23     be very honest, Your Honor, that makes sense because if
           24     you look further down in the disposition of that case, he
11:22:39   25     was found guilty on -- this entry was October 24th. He
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            1     was found guilty on October 29th. So soon after he was
            2     arrested, the trial went forward. So that indicates the
            3     defendant may be telling the truth about that.
            4                      Again the entry the page before, Your
11:22:58    5     Honor, Page 7 in the entry 9/19/2001, again we have a
            6     situation where the failure to appear -- note that the
            7     arrest date was September 19th, 2001, but the failure to
            8     appear is in 2002.
            9                      Now, at that point about four months has
11:23:19   10     transpired and it's at the beginning of the case, which
           11     tends to indicate that there was a failure of service yet
           12     again.
           13                      There are no capiases in the middle or at
           14     the end of that case. So again, I'm not seeing here any
11:23:35   15     real pattern of capiases or failures to appear.
           16                      He does have a PV hearing in the next case
           17     up, starts on Page 6. He does get a sentence of six
           18     months in jail. I do not know what the nature of the
           19     violation was.
11:23:52   20                      I think it was for new conduct because it
           21     happened in 2002, and 2002 is when he picks up this other
           22     fleeing and eluding case, so that does appear to be a
           23     concern, but I would note, Your Honor, that was 18 years
           24     ago. So Mr. Ellis was somewhere in the vicinity of 20
11:24:15   25     years old.
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            1                      Next case up, 1999, again bench warrant,
            2     but it's at the beginning of the case -- three months
            3     after he was originally arrested -- tends to indicate a
            4     failure in service.
11:24:29    5                      And before that, on Page 5 we do have a
            6     capias, but that was recalled. So, you know, he didn't
            7     receive any sentence as a result of the capias or his
            8     bond wasn't revoked, so apparently that must have been
            9     explained away.
11:24:51   10                      And in 1996, the next case above, when he
           11     was 18, he had a capias which was recalled. He was not
           12     sanctioned for that, so it must have been explained away.
           13                      So, Your Honor, again, I don't see a
           14     history of failing to go to Court. I don't see a history
11:25:06   15     there. To the extent there are capiases, they appear to
           16     have been resolved. And while he does have the one
           17     violation of probation, that was 18 years ago.
           18                      In his most recent cases, the case in 2015
           19     which is on Page 11, no indication that he had any
11:25:32   20     problem going to Court. He was ultimately sentenced. No
           21     indication that he violated probation. I think that's a
           22     better litmus test of whether or not now he is more
           23     mature and whether he is going to comport with the terms
           24     of bond.
11:25:49   25                      Now, the other thing, Your Honor, the Court
            Case:
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            1     always has a middle ground because the Court may -- I
            2     could understand -- it's a gun case, he's got a prior
            3     history, it's not flattering. The Court may have some
            4     pause about him simply being at home.
11:26:07    5                      So what I suggest to the Court is that in
            6     lieu of releasing him directly on bond, we all know that
            7     there are -- there is apparently a drug problem because
            8     we know from the U.S. Marshals that when he was arrested,
            9     when he was taken into their custody, he was apparently
11:26:24   10     going through withdrawal. That is a clear indication of
           11     a drug problem or at least some form of addiction.
           12                      This Court can put him in inpatient
           13     treatment, to the extent that it's available, and do that
           14     for a term of 30 or 60 days. And this Court can use that
11:26:43   15     as the determiner in terms of whether or not he should be
           16     continued on bond because obviously the Court would have
           17     to do that on bond, but put him in inpatient treatment,
           18     get him the treatment he needs. He knows he needs
           19     treatment. And if he does well during that period of
11:27:01   20     time, that would inform the Court's judgment as to
           21     whether he should be released or kept in jail.
           22                      If he has problems, if he tests positive
           23     for drugs that he's not supposed to have, if he leaves
           24     and he's not supposed to, then obviously that would
11:27:16   25     inform the Court's judgment, too. And Mr. Ellis is
            Case:
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            1     well-aware of what's going to happen if any of those
            2     things happen: He's going to jail.
            3                      The only thing I would ask, Your Honor, is
            4     the Court, in giving him inpatient treatment, if the
11:27:31    5     Court decides to do that, that the Court -- that he be
            6     made available for his other medical treatments because
            7     the nerve problems, sounds like they are serious. He
            8     gets nerve blocks every so often for the pain. He was
            9     being given pain medication.
11:27:46   10                      He had a car accident not too long ago that
           11     just exacerbated the problems he already had, and I
           12     believe created more problems with his back. So he
           13     appears to be in a lot of pain, quite a bit, and so I'd
           14     ask the Court, to the extent that the Court does either
11:28:03   15     release him on bond with conditions or put him in some
           16     form of inpatient treatment, that medical treatment be
           17     made available to him so he can get the other treatment
           18     that he needs.
           19                      And that's what we have, Your Honor.
11:28:16   20                      THE COURT: Thank you, counsel.
           21                      Counsel and Mr. Ellis, the initial purpose
           22     of today's proceeding was to conduct a preliminary
           23     hearing and determine whether probable cause in fact
           24     exists to support the charges alleged against Mr. Ellis.
11:30:23   25                      Having considered the testimony of Task
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            1     Force Officer Kopchak, the Court has considered not only
            2     the direct but the cross-examination of the witness, and
            3     makes the initial finding that the testimony is credible.
            4                      Having made the initial finding that the
11:30:59    5     testimony provided is credible, the Court's further
            6     considered the information proffered by counsel for the
            7     defense as well as counsel for the United States with
            8     respect to the matter of probable cause.
            9                      The Court will also note that a number of
11:31:21   10     the issues that defense raised, as the defense pointed
           11     out, would be issues that may be germane to a motion to
           12     suppress, but are not determinative to whether, in fact,
           13     probable cause exists to support the allegations alleged
           14     against Mr. Ellis.
11:31:46   15                      Based upon the -- all the information
           16     before me, it's this Court's finding that there is
           17     sufficient evidence to establish probable cause to
           18     believe that a crime was as alleged in the criminal
           19     complaint, that being a felon in possession of a firearm,
11:32:22   20     and the Court further finds that the evidence establishes
           21     probable cause that the defendant committed the alleged
           22     offense.
           23                      Having made that initial determination,
           24     it's this Court's finding that the matter is bound over
11:32:45   25     to the grand jury for further proceedings.
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            1                      At this time, the Court further finds that
            2     pursuant to the amended general order 2020-05, 2020-05-2
            3     and the most recent general order 2020-08 issued by the
            4     Chief Judge for the Northern District of Ohio, the Court
11:33:10    5     finds that the speedy trial clock under 18, U.S.C.,
            6     Section 3161(b) is extended to 30 days after the grand
            7     jury is ordered to reconvene its normal operations.
            8                      And such time is excluded for Speedy Trial
            9     Act purposes as provided by 18, U.S.C., Section 3161(b)
11:33:29   10     and 18, U.S.C., Section 3164 pursuant to the Court's ends
           11     of justice determination under 18, U.S.C., Section
           12     3161(h)(7)(A), (h)(7)(B)(i) and (h)(7)(B)(iii).
           13                      The Court further finds that the ends of
           14     justice served by a continuance outweigh the best
11:33:49   15     interests of the public and defendant in the speedy
           16     presentation of the case to the grand jury because
           17     failure to grant such a continuance would deny counsel
           18     for both sides the reasonable time necessary for
           19     effective preparation taking into account the exercise of
11:34:02   20     due diligence.
           21                      Now, with respect to the Government's oral
           22     motion for pretrial detention, there is no statutory
           23     presumption in favor of detention in this case based upon
           24     the charges alleged against Mr. Ellis.
11:34:29   25                      Therefore, the Court considers the evidence
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            1     proffered as well as the testimony of Officer Kopchak and
            2     the arguments of counsel.
            3                      Based upon the Court's consideration of the
            4     provisions of the Bail Reform Act and pertinent statutory
11:34:56    5     factors provided for the Court's consideration, the Court
            6     notes that the Government has not moved for pretrial
            7     detention based upon a theory that the defendant poses a
            8     flight risk, but the Government has asserted that the
            9     defendant poses a danger to the community.
11:35:15   10                      As noted, the Court has considered the
           11     Pretrial Services report as well as its recommendation.
           12                      I'll note for the record that the
           13     Court -- the Pretrial Services recommendation to the
           14     Court is that there are no conditions or combinations of
11:35:42   15     conditions that would reasonably assure the appearance of
           16     the defendant as required and the safety of the
           17     community. Therefore, it's the Pretrial Services'
           18     recommendation to the Court that the Court consider
           19     further detaining the defendant.
11:36:32   20                      Counsel and Mr. Ellis, at this time the
           21     Court's going to take the matter for pretrial detention
           22     under advisement and, if necessary, counsel and
           23     Mr. Ellis, the Court will schedule a further hearing on
           24     the matter of pretrial detention should I deem it
11:36:51   25     necessary to have a further hearing, or the Court may
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            1     issue a written decision memorializing my determination
            2     on the Government's motion for pretrial detention.
            3                      At this time, however, the Court is going
            4     to take the matter under advisement, and to be clear, the
11:37:11    5     previous order of pretrial detention of Mr. Ellis shall
            6     remain in effect until this Court renders further
            7     determination with respect to the Government's motion for
            8     pretrial detention.
            9                      AUSA Pierce, is there anything further for
11:37:29   10     the Court to consider at this time?
           11                      MR. PIERCE: Your Honor, the only thing I
           12     would note -- and I actually just forwarded this to
           13     Mr. Fleming; it should be in his inbox -- is that Ohio
           14     Rule of Criminal Procedure 45(a) talks about tolling and
11:37:44   15     timing of when a search warrant can be executed, and it
           16     specifically states that "Weekends, when the time is
           17     given that it's less than a week, i.e. three days, that
           18     weekends are specifically not included, meaning the
           19     weekend days do not count for that tolling."
11:38:04   20                      I just wanted to point that out.
           21                      I just forwarded it to Mr. Fleming.
           22                      THE COURT: Attorney Fleming, anything
           23     further for the Court to consider at this time?
           24                      MR. FLEMING: Nothing further on behalf of
11:38:14   25     the defense, Your Honor.
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            1                      THE COURT: All right. Then at this time
            2     the Court's going to adjourn this hearing and, as noted,
            3     take the matter under advisement.
            4                      MR. FLEMING: Thank you, Your Honor.
11:38:27    5                      THE COURT: Thank you, everyone.
            6                      MR. FLEMING: Take care.
            7                      (Proceedings concluded at 11:38 a.m.)
            8                                 - - - -
            9                            C E R T I F I C A T E
           10                         I certify that the foregoing is a correct
           11     transcript from the record of proceedings in the
           12     above-entitled matter.
           13
           14
           15
           16     /s/Susan Trischan
           17     /S/ Susan Trischan, Official Court Reporter
           18     Certified Realtime Reporter
           19
           20     7-189 U.S. Court House
           21     801 West Superior Avenue
           22     Cleveland, Ohio 44113
           23     (216) 357-7087
           24
           25
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